        Case 3:16-cr-00100-JAM          Document 90        Filed 07/22/16      Page 1 of 2




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

  UNITED STATES OF AMERICA,

          v.                                                 No. 3:16-cr-100 (JAM)

  PIERRE JEUDY, et al.,
       Defendants.

                              ORDER RE PLEA PROCEEDING

       In light of defendant Pierre Jeudy’s statement at today’s guilty plea proceeding that he is

not a United States citizen and defendant’s counsel’s statement that he had not learned of his

client’s non-citizenship status until this morning and had not thoroughly researched the

implications of defendant’s guilty plea with respect to defendant’s right to remain in the United

States in the event of his conviction, the Court continued today’s proceeding for purposes of

allowing defense counsel to research this issue and for defendant to assess in light of defense

counsel’s research and advice whether he wishes to enter a plea of guilty in this case. See Padilla

v. Kentucky, 559 U.S. 356, 367, 369 (2010) (noting that “the weight of prevailing professional

norms supports the view that counsel must advise her client regarding the risk of deportation”

and noting that if the law is “not succinct and straightforward” about what the immigration

consequences of the plea will be, then defense counsel “need do no more than advise a

noncitizen client that pending criminal charges may carry a risk of adverse consequences,” but

that “when the deportation consequence is truly clear,” then “the duty to give correct advice is

equally clear”).

       Defense counsel’s investigation of immigration consequences may not only bear on the

advice that defense counsel gives the client (and consequently on the client’s decision whether to

enter a plea of guilty at all), but it may also bear on the charge to which a defendant chooses to
        Case 3:16-cr-00100-JAM           Document 90        Filed 07/22/16      Page 2 of 2




plead guilty as well as on the admissions that defendant may make in court or by stipulation in a

plea agreement. Here, for example, the parties’ proposed plea agreement contains a stipulation as

to the amount of loss, and it is far from clear that the decision to stipulate to a loss amount was

made with knowledge of potential adverse immigration consequences. See, e.g., Polanco-De Los

Angeles v. Holder, 543 Fed. Appx. 26 (2d Cir. 2013); Ljutica v. Holder, 588 F.3d 119, 125–26

(2d Cir. 2009). Defense counsel’s investigation of immigration consequences may likewise bear

on significant arguments to be advanced by defense counsel at sentencing. See, e.g., Shu Feng

Xia v. United States, 2015 WL 4486233 (S.D.N.Y. 2015).

        In Padilla v. Kentucky, the Supreme Court recognized that “preserving the client’s right

to remain in the United States may be more important to the client than any potential jail

sentence.” 559 U.S. at 368. The Court trusts that defense counsel will fully investigate and seek

to protect defendant’s interests to the extent possible with respect to the potential immigration

consequences of any guilty plea. See, e.g., Bill Ong Hing, The Pressure Is On—Criminal

Defense Counsel Strategies After Padilla v. Kentucky, 92 DENV. U.L. REV. 835, 860 (2015)

(discussing range of efforts that competent defense counsel should make as including

“determining whether the client might actually be a citizen, to seeking a sentence that would fall

outside the realm of an aggravated felony, to seeking a plea to an alternative charge that does not

involve moral turpitude, [and] to making sure that the sentencing plea or colloquy is silent about

certain facts”).

        It is so ordered.

        Dated at New Haven, Connecticut, this 22nd day of July 2016.

                                                               /s/ Jeffrey Alker Meyer
                                                              Jeffrey Alker Meyer
                                                              United States District Judge


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